PROB12A1                UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                Mike MUNIZ

Docket Number:                1:02CR05367-013

Offender Address:             Bakersfield, California

Judicial Officer:             Honorable Robert E. Coyle
                              Senior United States District Judge
                              Fresno, California

Original Sentence Date:       12-08-03

Original Offense:             18 USC 4 - Misprision of a Felony
                              (CLASS E FELONY)

Original Sentence:            21 mos. BOP; 1 year TSR; $100 special assessment;
                              $5,000 fine; mandatory testing

Special Conditions:           Warrantless search; drug aftercare; no cell phone or
                              pager without probation officer's permission; drug
                              aftercare co-payment; and, to provide personal phone
                              records

Type of Supervision:          Supervised release

Supervision Commenced:        07-29-05

Assistant U.S. Attorney:      Virna L. Santos           Telephone: (559) 497-4000

Defense Attorney:             Roger K. Litman           Telephone: (559) 237-6000

Other Court Action:           None




                                                                             R ev. 04/2005
                                                                        P R O B 12A 1.M R G
RE:    Mike MUNIZ
       Docket Number: 1:02CR05367-013
       REPORT OF OFFENDER NON-COMPLIANCE




                            NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.     OTHER - OUTSTANDING FINE BALANCE


Details of alleged non-compliance: On December 8, 2003, the defendant was ordered
to pay a fine in the amount of $5,000. During the defendant's term of supervised release,
payments were set at $25 per month and the defendant currently has an outstanding fine
balance of $4,225.


United States Probation Officer Plan/Justification: The defendant has complied with
all terms and conditions of his supervised release including the above mentioned fine
payment plan. The defendant's term of supervised release is due to terminate on July 28,
2006, after service of one year which was the statutory maximum. Mr. Muniz is the sole
source of income for his family of three, earning approximately $1,500 per month through
his employment as a concrete finisher. During the term of supervision, he paid based on
his ability. Furthermore, this officer has contacted the U. S. Attorney's Office, Financial
Litigation Unit, who indicated they would continue to attempt to collect the fine monies. It
is therefore recommended no action be taken in this matter at this time and the defendant's
term of supervised release be allowed to expire on July 28, 2006.




                                                                                      R ev. 04/2005
                                             2                                   P R O B 12A 1.M R G
RE:   Mike MUNIZ
      Docket Number: 1:02CR05367-013
      REPORT OF OFFENDER NON-COMPLIANCE



                                  Respectfully submitted,

                                          /s/ Frank Esquivel

                                   FRANK ESQUIVEL
                             United States Probation Officer
                               Telephone: (661) 861-4354

DATED:         May 4, 2006
               Bakersfield, California
               FE:dk


REVIEWED BY:                /s/ Rick C. Louviere
                      RICK C. LOUVIERE
                      Supervising United States Probation Officer



THE COURT ORDERS:

(X)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

( )   Submit a Request for Modifying the Conditions or Term of Supervision.

( )   Submit a Request for Warrant or Summons.

( )   Other:

IT IS SO ORDERED.

Dated: May 7, 2006                            /s/ Oliver W. Wanger
emm0d6                                   UNITED STATES DISTRICT JUDGE



                                                                                   R ev. 04/2005
                                             3                                P R O B 12A 1.M R G
